           Case 1:02-cv-01383-MMS Document 42 Filed 07/21/06 Page 1 of 9



             In the United States Court of Federal Claims
                                         No. 02-1383 L

                                     (Filed: July 21, 2006)

************************************
SAMISH INDIAN NATION, a              *
federally recognized Indian Tribe,   *
                                     *
                       Plaintiff,    *
                                     *
        v.                           *
                                     *
THE UNITED STATES,                   *
                                     *
                       Defendant.    *
************************************

Craig Jones Dorsay, Portland, OR, counsel of record for plaintiff, with whom were William R.
Perry and Anne D. Noto, Washington, DC.

Devon Lehman McCune, Environmental & Natural Resources Division, United States
Department of Justice, Washington, DC, counsel of record for defendant, with whom were Sue
Ellen Woolridge, Assistant Attorney General, and Jason Roberts, United States Department of
the Interior.


                                    OPINION AND ORDER


DAMICH, Chief Judge.


I.     Introduction

       Presently before the Court is Plaintiff Samish Indian Nation’s, [hereinafter “the Tribe” or
“Samish”], request to conduct limited discovery prior to responding to Defendant’s motion to
dismiss.1 Plaintiff first requested limited discovery in the Joint Status Report, filed on November
23, 2005. Plaintiff subsequently filed, on May 8, 2006, a report setting forth its position on why
discovery should be permitted prior to responding to Defendant’s Motion to Dismiss. Defendant

       1
        Defendant filed its motion to dismiss on March 22, 2006. On March 23, 2006, the Court
terminated the deadline for Plaintiff to respond to Defendant’s motion pending the Court’s
decision on Plaintiff’s request for discovery.
            Case 1:02-cv-01383-MMS Document 42 Filed 07/21/06 Page 2 of 9



had indicated its opposition to Plaintiff’s request in the November 23, 2005 Joint Status Report.
As explained below, the Court will allow Plaintiff to conduct limited discovery in accordance
with the discovery requests attached to its May 8, 2006 Report.

II.    Background

        Plaintiff seeks damages for federal funds that it did not receive from the Government
during the period of 1969 to 1996, to which it claims that it was entitled, pursuant to a wide array
of federal statutes and treaties that provide programs, services, and benefits to federally-
recognized Indian tribes and their members.2 Prior to 1969, Plaintiff allegedly received federal
services and benefits available to Indian tribes and was included in a 1966 unofficial list of tribes
recognized by Defendant. This list was superseded by a 1969 unofficial list. Plaintiff did not
appear on that 1969 list due to an arbitrary omission made by Defendant.3 Plaintiff contends that
it was improperly omitted from the 1969 unofficial tribe list and, therefore, that it should have
continued to be treated as a federally recognized tribe even before its 1996 recognition. Federal
recognition or acknowledgment is a precondition to an Indian tribe’s right to claim benefits under
federal statutes. 25 C.F.R. § 83.2. Because Plaintiff was wrongfully omitted from the list of
federally-recognized tribes, it could not have received benefits under any statute.

        Previously, this Court ruled that Plaintiff’s claims for damages for the period of 1969
through 1996 were barred under the statute of limitations. Samish Indian Nation v. United
States, 58 Fed. Cl. 114 (2003). However, on appeal, the Court of Appeals for the Federal Circuit
reversed this portion of the Court’s decision. Samish Indian Nation v. United States, 419 F.3d
1355, 1358 (Fed. Cir. 2005).4

        In its Complaint and its Report, Plaintiff provides two theories of damages or claims for
relief which the Court simplifies for the purpose of this opinion. First, Plaintiff claims that each
of the statutes and treaties at issue individually mandates the payment of at least some money to
every federally-recognized tribe. Every federally-recognized tribe benefitted from these statutes,
Plaintiff alleges, because the agencies administering these statutes or regulations understood
them as mandating the payment of money to all federally-recognized Indian tribes. It appears
from a review of Plaintiff’s Complaint that its first claim for relief is predicated upon the Federal

       2
           See Pl.’s Second Am. Compl. ¶ 30(a)-(o).
       3
        The United States District Court for the Western District of Washington concluded that
the omission of the Samish from the unofficial 1969 list was arbitrary. Greene v. Babbitt, 943 F.
Supp. 1278, 1288 n.13 (W.D. Wash. 1996).
       4
         The Federal Circuit, however, affirmed this Court’s additional decision that Plaintiff’s
claims arising under the Indian Self-Determination and Education Assistance Act, 25 U.S.C. §§
450 et. seq., and the Snyder Act, 25 U.S.C. §§ 2, 13, are not money-mandating and are not within
the Court’s Tucker Act or Indian Tucker Act jurisdiction. It also affirmed the Court’s dismissal,
without prejudice, of Plaintiff’s claims to post-1996 benefits. Samish, 419 F.3d at 1358.

                                                  2
           Case 1:02-cv-01383-MMS Document 42 Filed 07/21/06 Page 3 of 9



Circuit’s standard for determining whether a statute or regulation is money-mandating, that is,
whether “the statutory text leaves the government no discretion over payment of claimed funds,”
and whether statutes or regulations underlying discretionary funding schemes “(1) provide ‘clear
standards for paying’ money to recipients; (2) . . . state the ‘precise amounts’ that must be paid;
or (3) as interpreted, compel payment on satisfaction of certain conditions.” Samish, 419 F.3d at
1364 (quoting Perri v. United States. 340 F.3d 1337, 1342-43 (Fed. Cir. 2003) (emphasis added).

        Second, Plaintiff claims that all of these statutes and regulations together comprise a
“network” of programs and benefits for federally-recognized tribes. Plaintiff argues that this
“network,” when viewed as a whole, is money-mandating. This second legal theory or claim
follows the Federal Circuit’s holding that a “fiduciary duty can also give rise to a claim for
damages within the Tucker Act or Indian Tucker Act.”5 Plaintiff argues that this network of
statutes and regulations establishes the Government’s specific trust responsibility to Plaintiff in
its fundamental aspects, thereby entitling Plaintiff to money damages for the Government’s
breach of its fiduciary responsibility. The Court, of course, does not opine here as to the viability
of Plaintiff’s theories.

III.   Plaintiff’s Request for Limited Discovery

         Plaintiff’s request for limited discovery is divided into two prongs. First, Plaintiff is
requesting limited discovery regarding a Bureau of Indian Affairs (“BIA”) funding mechanism,
titled, “Tribal Priority Allocations”(“TPA”), which allocates among federally-recognized tribes
funds from a group of programs designed for their benefit.6 According to the Declaration of
Debbie Clark, the Deputy Assistant Secretary – Indian Affairs (Management), the TPA


       5
         Id. at 1367 (citing United States v. White Mountain Apache Tribe, 537 U.S. 465, 473-74
(2003); United States v. Mitchell, 463 U.S. 206, 224-26 (1983) (“Mitchell II”). In Mitchell II, a
network of timber management statutes created a specific trust relationship – as opposed to a
bare trust – because those statutes required the Government to assume elaborate control over
tribal forests. Mitchell II, 463 U.S. at 225-226.
       6
         Authorizing statutes that support programs within TPA include the following: Johnson-
O’Malley Act, ch. 147, 48 Stat. 596 (1934), codified as amended at 25 U.S.C. §§ 452-457; the
Indian Child Welfare Act of 1978, Pub. L. No. 95-608, 92 Stat. 3069, codified at 25 U.S.C. §§
1901-1963; the Higher Education Tribal Grant Authorization Act, Pub. L .No. 102-325, pt. B,
106 Stat. 798 (1992), codified at 25 U.S.C. §§ 3301-3307; the Indian Alcohol and Substance
Abuse Prevention and Treatment Act of 1986, Pub. L. No. 99-570, tit. IV, subtit. C, 100 Stat.
3207 codified as amended at 25 U.S.C. §§ 2401-2478; and the Indian Child Protection and
Family Violence Prevention Act, Pub. L. No. 101-630, tit. IV, 104 Stat. 4544 (1990), codified at
25 U.S.C. §§ 3201-3211. Plaintiff contends that these authorizing statutes, as well as the annual
Interior Appropriation Acts, constitute a money-mandating “network” of statutes “for the purpose
of the claim by a federally-recognized tribe that it was wrongfully deprived of TPA funds.” Pl.’s
Second Am. Comp. at ¶ 30(a)(iv).

                                                 3
           Case 1:02-cv-01383-MMS Document 42 Filed 07/21/06 Page 4 of 9



mechanism “provides funds for the following categories: a) Tribal Government; b) Human
Services; c) Education; d) Public Safety and Justice; e) Community Development; f) Resource
Management; g) Trust Services; and h) General Administration.” Def.’s Dec. at ¶ 7. Plaintiff
contends that the various statutes that underlie TPA are money-mandating based upon the BIA’s
own construction of those statutes. Plaintiff asserts that all federally-recognized tribes receive
some TPA funds each year, but since Plaintiff was not a federally-recognized tribe, it did not
receive any funding through TPA. To that end, Plaintiff argues that discovery would show that
“by the government’s own construction, the statutory and regulatory framework under which the
TPA is provided reflects congressional intent that such funding must be provided to all federally-
recognized tribes. This, in turn, is the predicate for establishing that the statutes and regulations
underlying TPA are money-mandating.” Pl.’s Rep. at 14.

        Second, Plaintiff is seeking discovery regarding other federal statutes and regulations that
provide funds for federally-recognized tribes.7 Plaintiff cites several illustrative examples of the
kinds of statutes and regulations that it argues are money-mandating. First, it cites block grants
that Congress made available to all federally-recognized tribes in 1981. Omnibus Budget
Reconciliation Act of 1981 (“OBRA”), Pub. L. No. 97-35, §§ 67, 674(c), 901, 2601-2611, 95
Stat. 172.8 Plaintiff argues that the regulations promulgated under OBRA by the Secretary of
Health and Human Services state that funding under OBRA would automatically be provided to
every federally-recognized tribe. See 46 Fed. Reg. 48, 582, 48, 686 (Oct. 1, 1981) (announcing
final rule 45 C.F.R. § 96.41 (1981)) (“Accordingly, where provided by statute, the Secretary will,
upon request of an eligible Indian tribe or tribal organization, reserve a portion of a State’s
allotment and, upon receipt of the complete application and related submission that meets
statutory requirements, grant it directly to the tribe or organization.”). Because Defendant asserts
in its Motion to Dismiss that the tribes “were not eligible for funding,” Def.’s Mot. at 45,
Plaintiff maintains that it is entitled to seek discovery to determine whether Defendant’s assertion
is correct. Plaintiff’s second illustrative example consists of funds provided for job training
programs under the Comprehensive Employment and Training Act (“CETA”) and the Job
Training Partnership Act (“JTPA”).9 Plaintiff’s third illustrative example is that it is entitled to

       7
       A complete list of all these statutes and regulations that Plaintiff claims provides funds
(and mandates the payment of money) to federally-recognized tribes is contained in Pl.’s Second
Am. Compl. ¶ 30(b)-(o).
       8
         See OBRA, at § 674(c)(2) (codified at 42 U.S.C. § 9911(b)) (Community Services Block
Grant); id. § 901, (codified at 42 U.S.C. § 300w-1) (Preventative Health and Health Services
Block Grant); id. § 901 (codified at 42 U.S.C. § 300x-33(d)(1)) (Alcohol and Drug Abuse and
Mental Health Services Block Grant); id. § 901 (formerly codified at 42 U.S.C. § 300y-4)
(Primary Care Block Grant); id. § 2406(d)(2) (codified at 42 U.S.C. § 8623(d)) (LIHEAP grant
funding).
       9
      See CETA, Pub. L. No. 93-203, § 204(2), 87 Stat. 839, as amended by the Youth
Employment and Demonstration Act of 1977, Pub. L. No. 95-93, 91 Stat. 627; the
Comprehensive Employment and Training Act Amendments of 1978, Pub. L. No. 95-524, §§

                                                  4
            Case 1:02-cv-01383-MMS Document 42 Filed 07/21/06 Page 5 of 9



financial assistance provided to federally-recognized tribes pursuant to the Housing Act of 1937
and its amendments.10 Plaintiff maintains that discovery would confirm that all federally-
recognized tribes received assistance under these statutes and would refute Defendant’s assertion
that funding under these programs is discretionary. To that end, Plaintiff contends discovery
would demonstrate that any eligibility requirements, e.g., that the tribes possess or develop
administrative capabilities to administer those programs, “were construed and implemented by
the relevant agencies so that [such requirements were] not a barrier to receiving assistance.” Pl.’s
Rep. at 20.

IV.    Argument and Analysis

       A.       Parties’ Arguments

        The legal basis for Plaintiff’s request is twofold. First, Plaintiff argues that, in the Motion
to Dismiss, Defendant challenges jurisdictional facts alleged in the Complaint and that, therefore,
Plaintiff is entitled to conduct discovery to inquire into the jurisdictional facts asserted by
Defendant. Plaintiff specifically cites Ms. Clark’s Declaration, which describes how the BIA
calculates and distributes TPA funds, as an example of jurisdictional facts that Defendant placed
into dispute. Second, Plaintiff seeks discovery to prove that the relevant agencies interpreted the
laws and regulations at issue in this case to be money-mandating – whether through TPA or some
other mechanism. That interpretation, according to Plaintiff, indicates that Congress intended to
undertake substantive obligations with respect such tribes, thereby mandating the payment of
monies to federally-recognized tribes.11

        With respect to all of the statutes subject to Plaintiff’s request, the Court is ultimately
required to conduct an assessment of whether the statutes can “fairly be interpreted as mandating
compensation.” Mitchell II, 463 U.S. at 217 (quoting Eastport S.S. Corp. v. United States, 178
Ct. Cl. 599, 607; 372 F.2d 1002, 1009 (1967). “It is enough, then, that a statute creating a Tucker
Act right be reasonably amenable to the reading that it mandates a right of recovery in damages.
While the premise to a Tucker Act claim will not be ‘lightly inferred, ...’ a fair inference will do.”
White Mountain Apache, 537 U.S. at 473 (quoting Mitchell II, 463 U.S. at 218). Plaintiff


201, 301, 302, 92 Stat. 1901. See also JTPA, Pub. L. No. 97-300, 96 Stat. 1322.
       10
         See Housing Act of 1937, ch. 896, 50 Stat. 888, as amended by the Housing and
Community Development Act of 1974, Pub. L. No. 93-383, §§ 102(1)(a), 201, 210, 88 Stat. 633;
Housing and Community Development Act of 1977, Pub. L. No. 95-128, §§ 102(a)(16), 103(a),
901, 91 Stat. 111; Indian Housing Act of 1988, Pub. L. No. 100-358, 102 Stat. 676.
       11
         In its Report, Plaintiff also argues that, by denying federal funds to which it was entitled
had it been properly recognized by the federal government, it was deprived of equal protection of
the laws and had its privileges and immunities with respect to other tribes diminished, in
contravention of 25 U.S.C. §§ 476(f), (g). See Pl.’s Rep. at 8. For purposes of this opinion,
however, the Court need not address this argument.

                                                  5
            Case 1:02-cv-01383-MMS Document 42 Filed 07/21/06 Page 6 of 9



maintains that “[i]t is a ‘fair inference’ that Congress intended that when it provided funding to
benefit all federally recognized tribes, the federal agencies not undermine that intent by totally
excluding one tribe – as they did with Samish.” Pl.’s Rep. at 7 (emphasis in original). Although
its argument could have been more clearly made, it seems that Plaintiff is arguing that the Court
might “fairly infer” that the identified statutes or regulations – either individually or in a
“network”– establish that Congress imposed a specific fiduciary duty on the United States as a
trustee, thereby mandating compensation through money damages if the Government failed in its
responsibilities as a trustee.12 The Court can, so the argument goes, make this “fair inference” by
reviewing evidence that the responsible agencies, either through the TPA mechanism or some
other means, understood that they were required by the statutes or regulations at issue to pay at
least some money to federally-recognized tribes. Plaintiff argues that the Government breached
its fiduciary responsibilities to the Tribe by wrongfully excluding the Tribe from a list of
federally-recognized tribes from 1969 to 1996.

      Plaintiff submitted to the Court proposed admissions and interrogatories/requests for
documents that it seeks to serve upon Defendant, if the Court allows discovery. Pl.’s Rep. Apps.
2, 3.

        Defendant indicated in the November 23, 2005 Joint Status Report its opposition to
Plaintiff’s request for discovery. It maintained that the issue of whether the statutes and
regulations cited in Plaintiff’s Complaint are money-mandating is a pure matter of law and does
not require any factual findings. Defendant further stated that it desired an opportunity to file a
motion to suspend discovery.

       B.       Analysis

        Rule 26(b)(1) of the Court of Federal Claims (“RCFC”) provides that, in general,
“[p]arties may obtain discovery regarding any matter, not privileged, that is relevant to the claim
or defense of any party” (emphasis added). The same rule also provides that “for good cause, the
court may order discovery of any matter relevant to the subject matter involved in the action.”
Id. “Relevant” information is defined as discovery “reasonably calculated to lead to the
discovery of admissible evidence.” Id. The Court finds that Plaintiff has provided good cause
for allowing limited discovery, and that the discovery it seeks consists of “relevant” information.

        The Court views the operation of the TPA funding program to be strongly “relevant” to
Plaintiff’s argument that the Government itself understood that all federally-recognized tribes
were entitled to payments under the statutes and regulations at issue. There is little information
on the record as to how the TPA mechanism determined the criteria by which eligibility for
payments to tribes was determined and how the BIA calculated the amount paid to each eligible
tribe. Conceivably, discovery might permit the Court to “fairly infer” that the relevant agencies


       12
         Samish, 419 F.3d at 1368. In contrast, if the Government has a “bare” or “limited” trust
relationship with a party on whose behalf it undertook no responsibility, no claim for money
damages within the Tucker Act or Indian Tucker act lies. Id.
                                                6
         Case 1:02-cv-01383-MMS Document 42 Filed 07/21/06 Page 7 of 9



understood the statutes or regulations underlying TPA to be money-mandating.

         Moreover, it is well established that when a motion to dismiss challenges a jurisdictional
fact alleged in a complaint, a court may allow discovery in order to resolve the factual dispute.
“[W]here issues arise as to jurisdiction or venue, discovery is [also] available to ascertain the
facts bearing on such issues.” Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 n.13
(1978) (citations omitted). This Court has opined that there are occasions when it is appropriate
to conduct discovery when jurisdictional facts are in dispute.

               But there are exceptions to the usual Rule 12(b)(1) requirement
               that the allegations of the complaint be accepted as true. Such
               exceptions, referred to under the collective rubric of factual
               attacks, exist in cases where a jurisdictional determination on the
               pleadings alone would be unfair. Such cases might arise where the
               merits of a case are inextricably interwoven with the facts
               necessary to establish jurisdiction, or where the truth of the
               jurisdictional facts is disputed, or where only additional discovery
               can uncover necessary jurisdictional facts, or where the
               jurisdictional attack is based on matters outside the pleadings.


E. Trans-Waste of Md., Inc. v. United States, 27 Fed. Cl. 146, 148 n.1 (1992) (emphasis in
original). See also Trintec Indus., Inc. v. Pedre Promotional Products, Inc., 395 F.3d 1275, 1283
(Fed. Cir. 2005) (“If the district court concludes that the existing record is insufficient to support
personal jurisdiction, [plaintiff] is entitled to jurisdictional discovery. Such discovery is
appropriate where the existing record is ‘inadequate’ to support personal jurisdiction and ‘a party
demonstrates that it can supplement its jurisdictional allegations through discovery.’”) (citations
omitted); Ignatiev v. United States, 238 F.3d 464, 467 (D.C. Cir. 2001) (“We have previously
required that plaintiffs be given an opportunity for discovery of facts necessary to establish
jurisdiction prior to decision of a 12(b)(1) motion.”). At the very least, by placing Ms. Clark’s
declaration on the record in its Motion to Dismiss, Defendant has, in effect, opened the door for
Plaintiff to make further factual inquiries into the BIA’s interpretation and construction of the
statutes underlying the TPA mechanism. More significantly, the declaration itself is strongly
suggestive that the BIA may very well have considered that the statutes and regulations
underlying TPA, in fact, mandate the payment of money to federally-recognized tribes. For
instance, the declaration states “[t]he BIA must allocate the congressionally appropriated amount
among the tribes. . . . Def. Dec. ¶ 4.” The Declaration also states that “all federally-recognized
tribes are eligible to benefit from the appropriation of funds.” Id. at ¶ 11.

        Plaintiff’s argument on behalf of its request for discovery related to the non-TPA
programs is not as strong as its argument in favor of its discovery request regarding the operation
of the TPA mechanism. Nevertheless, the requested information remains “reasonably calculated
to lead to the discovery of admissible evidence” and, therefore, “relevant” discoverable
information, pursuant to RCFC 26. Funding under CETA, JTPA, the Housing Act of 1937, and
OBRA block grants arguably relates to fundamental human needs of housing, health care, and

                                                  7
         Case 1:02-cv-01383-MMS Document 42 Filed 07/21/06 Page 8 of 9



job training. As the Court understands Plaintiff’s argument, it, first, seeks to show that the
agencies administering these programs understood that they had specifically undertaken a
responsibility to provide for such fundamental human needs to federally-recognized Indian tribes.
Second, Plaintiff seeks to show that the Government understood the statutes and regulations to
mean that all federally-recognized tribes were eligible for these benefits. These two showings
would, according to Plaintiff, prove that a fiduciary relationship existed between Plaintiff and the
Government, which was subsequently breached when Plaintiff was removed from the 1969 list.
Whether this argument is ultimately sustainable is subject to debate, but given the history of
Plaintiff’s relationship with the Government, the Court is not prepared to hold that there are no
facts that could support Plaintiff’s money-mandating arguments. The Court finds that Plaintiff
has adequately demonstrated that certain jurisdictional facts with respect to non-TPA programs
are, in fact, disputed, e.g., that all federally-recognized tribes received some funding under these
statutes, and that the administering agencies, in fact, did not interpret any eligibility requirements
as providing them discretionary authority. Because discovery could uncover facts necessary for
Plaintiff to prove jurisdiction and because the discovery sought by Plaintiff is probative of its
money-mandating arguments, the Court is of the opinion that the prudent course is to allow
Plaintiff to conduct the limited discovery it seeks as set forth in its proposed discovery requests
contained in Appendix 2 and 3 of Plaintiff’s May 8, 2006 Report.

         Defendant argues that discovery is unnecessary because the determination of whether any
of these statutes and regulations mandate the payment of money can be resolved by the facial
language of the statutes and regulations. However, Plaintiff correctly points out that this Court
has, in the past, held that a regulation, though not money-mandating on its face, nevertheless,
mandated the payment of money based upon agency interpretation. Reidell v. United States, 43
Fed. Cl. 770, 771-72 (1999). Specifically, Reidell held that certain claimants were entitled to
retroactive payments of “prevailing wages” under the Davis-Bacon Act, despite the fact that
neither the text of the Davis-Bacon Act nor the regulations implementing the Davis-Bacon Act
clearly mandates the payment of money, because the Department of Labor issued a ruling
interpreting its regulations as requiring such retroactive payments. Id. Unlike Reidell, the record
does not currently show that Plaintiff has received a ruling from any relevant agency entitling it
to receive payment under any statute or regulation. Nor does the record show that any relevant
agency has taken any action that is functionally similar to that of the Department of Labor in
Reidell. However, the Plaintiff believes that if it obtains the discovery it seeks, the Court could,
as it did in Reidell, “fairly infer” that the relevant Government agencies interpreted the statutes or
regulations, either individually or as network, as creating a fiduciary duty toward Indian tribes,
thereby mandating monetary payments to them. While the record does not indicate whether the
agencies interpreted the statutes and regulations in the manner in which Plaintiff asserts;
nevertheless, given the unique set of circumstances that brought Plaintiff before the Court,
particularly the finding in Greene that the omission of the Tribe from the 1969 unofficial list was
arbitrary, Plaintiff should have the opportunity to make this argument once all the relevant
jurisdictional facts are known. Therefore, limited discovery is warranted to establish the




                                                  8
             Case 1:02-cv-01383-MMS Document 42 Filed 07/21/06 Page 9 of 9



requisite jurisdictional facts.13

       Defendant also argues that Plaintiff’s discovery requests are potentially burdensome to it.
However, the Court has reviewed Plaintiff’s discovery requests and does not find them so to be.
Nevertheless, the Court will entertain good-faith arguments by motion that a particular discovery
request is overly burdensome to Defendant if, upon careful review and inquiry, it finds that it is
unable to comply with the discovery request.

IV.     Conclusion

        The Court hereby allows limited discovery to take place in accordance with Plaintiff’s
proposed discovery requests in Appendix 2 and 3 of its May 8, 2006 Report. The Court hereby
ORDERS the establishment of the following discovery schedule. Plaintiff shall serve its
discovery requests upon Defendant no later than 30 days from the date of this order. Defendant
shall respond to Plaintiff’s discovery requests no later than 60 days from the date of this order.
The parties shall file a joint status report no later than 90 days after the date of this order
informing the court how they propose to proceed.

IT IS SO ORDERED.


                                                     s/ Edward J. Damich
                                                     EDWARD J. DAMICH
                                                     Chief Judge




        13
         Counsel for Plaintiff is reminded to make sure that, when citing either binding precedent
or decisional history of this Court as support for a particular proposition, the case, in fact,
supports the proposition in its entirety. Like a carpenter’s board that was cut too short, a few
cited cases have frustratingly stood for most, though not enough, of a stated proposition. It is not
sufficient for a party to cite cases that, while broadly favorable to certain propositions, do not
fully support them.

                                                 9
